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                                                                      FILED IN OPEN COURT
                                                                          U.S.D.C. Atlanta

                                                                            APR 1 9 2021
                  IN THE UNITED STATES DISTRICT COURT Jame^atte^
                FOR THE NORTHERN DISTRICT OF GEORGIA yb%?^^
                              ATLANTA DIVISION


   UNTTED STATES OF AMERICA
                                                Criminal Action No.
         V.



   Victor Hm
                                                      UNDER SEAL


                            Motion to Seal Indictment

   The United States of America, by Kurt R. Erskine, Acting United States

Attorney/ and Brent A. Gray/ Assistant United States Attorney for the Northern

District of Georgia/ respectfully requests that the attached Indictment/ motion to

seal and order be sealed for the following reasons:

   The Defendant is an armed law enforcement officer. The arrest will need to

be planned and coordinated for the safety of the Defendant and federal agents.

   WHEREFORE/ the United States of America respectfully requests that this

motion/ the Indictment and ensuing order be sealed.
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Submitted this 19fe day of April 2021.

                                         Respectfully submitted/

                                         KURT R. ERSKINE
                                            Acting United States Attorney




                                  /s/BrAit A. Gray
                                            Assistant United. States Attorney
                                         Georgia Bar No. 155089
                                         Brent.Gray@usdoj.gov
